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 7
     Attorneys for Plaintiff,
 8   Monika Winslow
 9                              UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
12
      MONIKA WINSLOW, an individual                   Case No. CV14-02713- FMO(JEMx)
13
                          Plaintiff,                  Hon. Fernando M. Olguin
14                                                    Dept: 22
                          vs.
15                                                    FIRST AMENDED COMPLAINT
16    BANK OF AMERICA, N.A.;
      RESURGENT CAPITAL SERVICES,
17    L.P.; and Does 1 – 10, inclusive,               Complaint Filed: April 9, 2014
18
                          Defendants.
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 1                                         COMPLAINT
 2         COMES NOW Plaintiff MONIKA WINSLOW (“Plaintiff”), by and through her
 3   counsel, for her Complaint against Defendant BANK OF AMERICA, N.A. (“BANA”)
 4   and RESURGENT CAPITAL SERVICES, L.P. (“Resurgent”) (collectively
 5   “Defendants”), pleads as follows:
 6   I.    STATEMENT OF THE CASE
 7         1.     On or around March 23, 2004, Plaintiff executed a promissory note
 8   (“Note”) secured by a deed of trust (“Deed of Trust”) for the finance of the real property
 9   located at 9327 Georgia Way, Chatsworth, California 91311 (Note and Deed of Trust
10   collectively “Loan”). At all times relevant to this action and as detailed herein,
11   Defendants were obligated to service Plaintiff’s Loan.
12         2.     On or about October 11, 2013, Plaintiff sent written correspondence
13   pursuant to the Real Estate Settlement Procedures Act, 12 U.S.C. § 2605(e) (“RESPA”)
14   to her servicer.
15         3.     Defendants failed to provide any substantive response to Plaintiff’s
16   correspondence and failed to take necessary actions as required by RESPA. Through
17   this action, Plaintiff seeks damages resulting from Defendants’ unlawful conduct.
18   II.   JURISDICTION, VENUE, AND PARTIES
19         4.     This Court has original jurisdiction over the claims in this action based on
20   28 U.S.C. §§ 1331 and 12 U.S.C. § 2605, which confer original jurisdiction on federal
21   district courts in suits to address the deprivation of rights secured by federal law.
22         5.     The unlawful conduct, illegal practices, and acts complained of involved
23   real property that is located in the Central District of California. Therefore, venue
24   properly lies in this District, pursuant to 28 U.S.C. § 1391(b).
25         6.     At all relevant times, Bank of America, N.A. was a national association
26   organized under the laws of the United States with its main office in North Carolina.
27         7.     At all relevant times, Resurgent Capital Services, L.P. was a limited
28   partnership organized under the laws of Delaware with its main office in South Carolina.
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 1           8.       Plaintiff is ignorant of the true identities and capacities of Defendants
 2   designated as Does 1 - 10, but will amend the Complaint when their identities have been
 3   ascertained according to proof within the time permitted. However, Plaintiff alleges on
 4   information and belief, that each and every Doe Defendant is in some manner
 5   responsible for the acts and conduct of the other Defendants, and were, and are,
 6   responsible for the injuries, damages, and harm incurred by Plaintiff. Plaintiff further
 7   alleges on information and belief that each such designated Defendant acted, and acts, as
 8   the authorized agent, representative, and associate of the other Defendants in doing the
 9   things alleged herein.
10                            VIOLATION OF 12 U.S.C. § 2605 (RESPA)
11                                   [Against BANA and Resurgent]
12           9.       On or around March 23, 2004, Plaintiff executed a Note and Deed of Trust
13   in favor of Eagle Home Mortgage, Inc.
14           10.      Plaintiff’s Loan is secured by a first lien on residential real property upon
15   which there is located a structure or structures designed principally for occupancy of
16   from one to four families. Accordingly, Plaintiff’s Loan is subject to the requirements
17   of RESPA.
18           11.      Plaintiff’s Loan is also subject to RESPA because the lender of Plaintiff’s
19   Loan:
20                 a) was insured and regulated by the FDIC; and
21                 b) made or invested in residential real estate loans aggregating more than

22                    $1,000,000 per year.
23           12.      On or around October 11, 2013, Plaintiff’s agent sent the servicer of
24   Plaintiff’s Loan written correspondence that contained information identifying Plaintiff
25   and Plaintiff’s Loan.
26           13.      Plaintiff’s October 11, 2013 correspondence provided sufficient detail to
27   identify the information she was seeking. Specifically, Plaintiff requested information
28   pertaining to the servicing of the Loan, including: 1) the identify of previous servicers;
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 1   2) a breakdown of the current escrow charges showing how the charges were calculated
 2   and the reasons for any increase within the last 24 months; 3) a life of loan transactional
 3   history; 4) copies of collection notes and communication files; 5) a reinstatement quote;
 4   and 6) a payment history. See Exhibit “A,” attached hereto is a true and correct copy of
 5   Plaintiff’s October 11, 2013 written correspondence.
 6         14.      On or around October 17, 2013, Plaintiff’s servicer confirmed receipt of her
 7   QWR, advising Plaintiff that it was “in the process of obtaining the documentation and
 8   information necessary to address your questions.” See Exhibit “B,” attached hereto is a
 9   true and correct copy of the October 17, 2013 correspondence.
10         15.      In late 2013, Plaintiff was informed that Defendant Resurgent would
11   assume the servicing rights and obligations of Plaintiff’s Loan.
12         16.      Pursuant to Part 1024 of RESPA, when the servicing of a loan is
13   transferred, both the old and new servicers are obligated to ensure the transfer of
14   accurate and timely information pertaining to Plaintiff’s Loan. See 12 CFR 1024.35.
15         17.      Thus, for example, Defendants were required to:
16               a) provide “all information and documents in the possession or control of the
17                  [transferor] servicer relating to a transferred mortgage loan to a transferee
18                  servicer in a form and manner that ensures the accuracy of the information
19                  and documents transferred and that enables a transferee servicer to comply
20                  with the terms of the transferee servicer's obligations to the owner or
21                  assignee of the mortgage loan and applicable law.” 12 CFR 1024.38 (i);
22                  and
23               b) “identify necessary documents or information that may not have been
24                  transferred by a transferor servicer and obtain such documents from the
25                  transferor servicer.” 12 CFR 1024.38(ii).
26         18.      Pursuant to 12 U.S.C. § 2605(e)(2)(B-C) and 12 CFR 1024 et seq., in
27   response to Plaintiff’s QWR, Defendants were required to provide written explanation to
28   Plaintiff of the following:
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 1               a) a statement of the reasons Defendant(s) believe Plaintiff’s account is
 2                  correct; and (2) the name and telephone number of an individual employed
 3                  by, or the office or department of, the servicer who can provide assistance
 4                  to Plaintiff; [OR]
 5               b) the information requested by Plaintiff or an explanation of why the
 6                  information requested is unavailable or cannot be obtained; and (2) the
 7                  name and telephone number of an individual employed by, or the office or
 8                  department of, the servicer who can provide assistance to Plaintiff.
 9         19.       Defendants failed to provide any response to Plaintiff’s written requests
10   for information as required by 12 U.S.C. § 2605(e)(2)(B-C).
11         20.      Plaintiff asserts that Defendants violated 12 U.S.C. § 2605(e) by their: (1)
12   failure to respond to Plaintiff’s written request; (2) failure to make appropriate
13   corrections in Plaintiff’s account, including the crediting of any late charges or penalties,
14   and transmitting to Plaintiff a written notification of the correction; and (3) failure to
15   protect Plaintiff’s credit rating upon receipt of Plaintiff’s written correspondence by
16   furnishing adverse information regarding payment to credit reporting agencies as
17   defined in section 603 of the Fair Credit Reporting Act, 15 U.S.C. § 1681(a).
18         21.      In or around early 2014, Plaintiff began receiving communications from
19   Shellpoint Mortgage Servicing, pertaining to the subject Loan. Based thereon, it
20   appears that, in or around early 2014, the servicing rights of Plaintiff’s Loan was
21   transferred to Shellpoint Mortgage Servicing.
22         22.      Pursuant to 12 U.S.C. § 2605(c), a transferor servicer is obligated to
23   provide notice to a “borrower in writing of any assignment, sale or transfer of the
24   servicing of the loan to any other person” no less than 15 days before the effective date
25   of transfer. 12 U.S.C. § 2605(c).
26         23.      To date, Plaintiff has not received any notice of transfer of the servicing of
27   her Loan from Defendant(s) to Shellpoint Mortgage Servicing.
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 1          24.    Plaintiff asserts that Defendant(s)’ violation(s) of 12 U.S.C. § 2605(c) & (e)
 2   subjects Defendants to statutory damages, civil liability, penalties, attorneys’ fees, and
 3   actual damages. See 12 U.S.C. § 2605.
 4          25.    As a direct and proximate result of Defendant(s)’ conduct, Plaintiff has
 5   suffered actual pecuniary damages that include, but are not limited to, the over
 6   calculation and overpayment of interest on Plaintiff’s Loan, the costs of repairing
 7   Plaintiff’s credit, the reduction and/or elimination of Plaintiff’s credit limits, and
 8   attorneys’ fees and costs, in an amount to be proven at trial. Moreover, Plaintiff does
 9   not know which entity holds the servicing rights to and obligations for her Loan.
10   WHEREFORE, Plaintiff prays as follows:
11          1.     For compensatory, special, and general damages in an amount according to
12   proof at trial;
13          2.     For an order compelling Defendant to disgorge all amounts wrongfully
14   taken from Plaintiff and returning the same to Plaintiff’s interest thereon at the statutory
15   rate from the date the funds were first received from Plaintiff;
16          3.     For costs of suit incurred herein;
17          4.     For reasonable attorneys’ fees incurred; and
18          5.     For such other and further relief as the Court may deem proper.
19
20   Dated:        July 7, 2014               BERGMAN & GUTIERREZ LLP
21
22                                            By:    /s/ Amanda L. Gray
                                                     Penelope P. Bergman
23                                                   Deborah P. Gutierrez
                                                     Amanda L. Gray
24                                                   Attorneys for Plaintiff,
25                                                    Monika Winslow
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 1                             DEMAND FOR JURY TRIAL
          Plaintiff Monika Winslow hereby demands a trial by jury on all claims.
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 3
     Dated:     July 7, 2014             BERGMAN & GUTIERREZ LLP
 4
 5
                                         By:   /s/ Amanda L. Gray
 6                                             Penelope P. Bergman
 7                                             Deborah P. Gutierrez
                                               Amanda L. Gray
 8                                             Attorneys for Plaintiff,
                                               Monika Winslow
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                                   Certificate of Service

       I, Amanda L. Gray, attorney of record in this matter, hereby certify that on July 7, 2014, in
accordance with the registered case participants and in accordance with the procedures set forth
at the United States District Court, Central District of California, service of a true and correct
copy of this document was accomplished pursuant to ECF electronic delivery.


                                                    By:     /s/ Amanda L. Gray
                                                            AMANDA L. GRAY




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                                  CERTIFICATE OF SERVICE
